
USCA1 Opinion

	










          June 13, 1995
                                [NOT FOR PUBLICATION]
                          UNITED STATES OF COURT OF APPEALS
                                 FOR THE FIRST CIRUIT


                                 ____________________


        No.  94-1578

                                  BERNARDO FIGUEROA,

                                Plaintiff, Appellant,

                                          v.

                                 GEORGE VOSE, ET AL.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                  [Hon. Timothy M. Boudewyns U.S. Magistrate Judge]
                                             _____________________

                                 ____________________

                                        Before

                                 Selya, Circuit Judge,
                                        _____________
                         Campbell, Senior Circuit Judge, and
                                   ____________________
                                Boudin, Circuit Judge.
                                        _____________

                                 ____________________

            Bernardo Figueroa on brief pro se.
            _________________
            David  J. Gentile, Esq.,  On Memorandum  In Support  of Motion for
            ______________________
        Summary Disposition for appellees. 

                                 ____________________


                                 ____________________





















                      Per  Curiam.   Bernardo  Figueroa appeals  from the
                      ___________

            district  court's decision that  a prison  disciplinary board

            did  not violate  his  federal due  process  rights under  42

            U.S.C.   1983 when it found him guilty of planning  to murder

            Captain  Ronald Brodeur,  a correction  officer.   We affirm.

            Since  the facts have been described  in the district court's

            opinion, we do not repeat them here except as is necessary to

            explain our  affirmance.   We turn immediately  to Figueroa's

            contentions on appeal.

                      1.  Notice of Time of Disciplinary Hearing
                          ______________________________________

                      Figueroa claims  that he  was not given  a required

            24-hour notice of his  disciplinary hearing and that delivery

            of the disciplinary report to him two days before the hearing

            was insufficient  notice.  Federal  law does not  require 24-

            hour  advance notice of a disciplinary  hearing, however.  It

            requires only  that inmates  be given  written notice of  the

            charges   against  them   at  least   24  hours   before  the
            _______

            disciplinary hearing.   See Wolff v. McDonnell, 418 U.S. 539,
                                    ___ _____    _________

            564  (1974).    This   court  has  said  that   delivering  a

            disciplinary report describing the  charges against an inmate

            to the inmate meets that requirement.  See Langton v. Berman,
                                                   ___ _______    ______

            667 F.2d 231,  234 (1st Cir. 1981).  Since  Figueroa does not

            dispute that  he received a  copy of the  disciplinary report

            describing  the  charge  against  him  two  days  before  the





















            disciplinary  hearing, the district court correctly concluded

            that the notice given to Figueroa satisfied due process.1

                      2.  Provision of Interpreter
                          ________________________

                      Figueroa alleges  that he should have  been given a

            Spanish-speaking counselor  to assist him at the disciplinary

            hearing  rather  than  an  English-speaking  counselor.    He

            acknowledges  that  he  understands English,  except  for  an

            occasional  word, but says he does not speak English well and

            so could not participate "fully" in the hearing.  (His spoken

            English can be hard  to understand, as the hearing  and trial

            transcripts show.)  At trial, Figueroa said that he had asked

            both Jack Ward, his  English-speaking counselor, and  Captain

            Andrew Anderson, the chairman of the disciplinary board,  for

            Maria  Pezza's   assistance,  but  was  told   that  she  was

                                
            ____________________

            1.  On appeal, Figueroa appears to claim as well that failure
            to provide 24-hour advance notice of the hearing violated the
            Morris Rules,  which are regulations governing the discipline
            and  classification of  inmates at  the state  facility where
            Figueroa is incarcerated and which have the  force and effect
            of state  law.  See  Rodi v.  Ventetuolo, 941 F.2d  22, 26-28
                            ___  ____     __________
            (1st Cir. 1991).  The version of the Morris Rules at issue is
            appended to  Morris v.  Travisono, 499  F. Supp.  149 (D.R.I.
                         ______     _________
            1980).    Figueroa's  state law  claims  are  not before  us.
            Although  his  complaint  asserted  both  state  and  federal
            claims, in his pre-trial  memorandum Figueroa argued only his
            due process  claims, relying on cases  discussing federal due
            process.   Without objection by Figueroa,  the district court
            issued  a  pre-trial  order   limiting  the  evidence  to  be
            presented  at trial to the  federal due process  issues.  The
            court's  decision  resolved  only  the  federal  due  process
            claims.  Since the  court never asserted pendent jurisdiction
            over Figueroa's state  law claims and  did not resolve  those
            claims,  Figueroa remains free to bring  his state law claims
            in state court if not otherwise barred from doing so by state
            law, e.g., by any applicable statute of limitations.

                                         -3-















            unavailable.2    Figueroa wanted  her  to assist  him  at the

            hearing because she could explain words he did not understand

            and she would have "defend[ed]" him.  

                      We  agree  with  the  district court  that  no  due

            process violation occurred here.   In part, Figueroa seems to

            have  hoped that  Pezza  could have  presented his  case more

            persuasively to the disciplinary board than he did.  In other

            words,  Pezza would have been  useful to him  as an advocate.

            In Wolff, the Supreme Court  held that inmates do not have  a
               _____

            right  to counsel  in disciplinary  proceedings, 418  U.S. at

            570, a  position it  confirmed in Baxter  v. Palmigiano,  425
                                              ______     __________

            U.S. 308,  315 (1976).   The  Court suggested,  however, that

            illiterate inmates  or inmates  with complex cases  should be

            able to "seek  the aid of a  fellow inmate, or . .  . to have

            adequate substitute aid in the form of help from the  staff .

            .  . ."  See Wolff, 418  U.S. at 570.  Assuming that Figueroa
                     ___ _____

            should have been treated as  an illiterate inmate, any  right

            that  he may  have had  to staff  assistance under  Wolff was
                                                                _____

            satisfied when Ward was  assigned to help him.   In addition,

            nothing  in  the  record  suggests  that  any  deficiency  in


                                
            ____________________

            2.  The  district  court  apparently  discredited  Figueroa's
            testimony at trial that he had asked for Pezza's  assistance,
            relying on  the transcript of the  disciplinary hearing which
            did not  record any  such request.   Anderson  testified that
            Figueroa had never asked him for a Spanish-speaking counselor
            or interpreter  and that he  would have  readily granted  any
            such request.   However, Figueroa testified that he  had also
            asked Ward for Pezza's assistance.

                                         -4-















            Figueroa's  English  adversely   affected  the   disciplinary

            proceedings.   As  the  transcript of  the hearing  confirms,

            Figueroa  understands  spoken  English.    Despite  sometimes

            unclear  syntax,  he  can  also make  himself  understood  in

            English.   At the hearing, he denied his guilt, explained why

            he wanted  to call Captain  Brodeur as a  witness, challenged

            his  lack of access to  confidential reports, and denied that

            he had been  working in  the prison kitchen  at the time  the

            alleged  murder   weapon  disappeared.     Furthermore,  Ward

            appeared with him at the hearing and, according to Figueroa's

            post-trial brief, participated  in questioning  Investigating

            Officer Joseph Forgue.3  Figueroa  presented his own case and

            the transcript does  not reflect that  he ever sought  Ward's

            aid  in   making  his  presentation.4     Moreover,  Figueroa

            testified  that Anderson and Ward had told him that Pezza was

            unavailable, but does not  allege any unconditional denial of

            the assistance of a Spanish-speaking counselor.  Although his

                                
            ____________________

            3.  Ward's  participation is  not  evident  from the  hearing
            transcript  which  apparently   incorrectly  attributes   his
            questions to disciplinary board members.

            4.  At trial, Figueroa stated  that Ward had been of  no help
            to him, but he  does not suggest that Ward's  alleged failure
            to help him is actionable under section 1983.   In any event,
            because there is no right  to counsel at prison  disciplinary
            hearings,  an inmate  has  no cause  of  action for  a  staff
            assistant's allegedly ineffective assistance.   See Bostic v.
                                                            ___ ______
            Carlson, 884  F.2d 1267,  1274 (9th  Cir. 1989);  Harrison v.
            _______                                           ________
            Seay,  856 F. Supp. 1275, 1281 (W.D. Tenn. 1994); cf. Coleman
            ____                                              ___ _______
            v.  Thompson, 501 U.S. 722, 755 (1991) (because an inmate has
                ________
            no right to counsel to collaterally attack his conviction, he
            has no claim for ineffective assistance of such counsel).  

                                         -5-















            testimony  may suggest that he  was told to  proceed with the

            hearing or  to  proceed  with  Ward  as  his  counselor,5  he

            apparently did not actually  ask prison officials to postpone

            his hearing until Pezza was available.  Anderson testified at

            trial  that he had never  denied any inmate  the counselor of

            his choice and that he had postponed hearings if the inmate's

            preferred  counselor was  absent.   We  therefore affirm  the

            district  court's  determination  that  defendants   did  not

            violate Figueroa's constitutional rights by not  appointing a

            Spanish-speaking counselor  or interpreter to aid  him at the

            hearing.

                      3.  Denial of Witnesses
                          ___________________

                      According   to  Figueroa,   he  should   have  been

            permitted to  call as  witnesses at his  disciplinary hearing

            Captain  Brodeur, the  correction officer  Figueroa allegedly

            intended  to  murder;  an  Officer  Fletcher, who  apparently

            investigated  the alleged  murder  plot and/or  prepared  the

            disciplinary  report against Figueroa; and two inmates, Larry

            Botton (also given as  Boton or Baton in the record) and Gary

            Ortiz.  At  the hearing,  Figueroa stated that  he wanted  to

            call  Brodeur to  confirm  that he  and  Brodeur had  had  no

            problems  with each other.  On appeal, Figueroa says that, if


                                
            ____________________

            5.  Figueroa  testified  as  follows:     "I  ask  [Ward  and
            Anderson] if  I can have Spanish  counsellor, specific, Maria
            Pezza.   I was told  that Maria Pezza  was embarcation at the
            time, [inaudible].  I have to proceed."

                                         -6-















            Fletcher, Botton and Ortiz had appeared at the hearing, their

            "testimony  could  have  brought  forth  new or  previous[ly]

            unsolicited facts."  

                      At the  disciplinary hearing  and  again at  trial,

            Captain  Anderson, the  chairman of  the  disciplinary board,

            explained the board's determination that testimony by Brodeur

            about his  relationship with Figueroa would  not be relevant.

            Although lack  of animosity  might normally seem  relevant in

            determining whether one individual might be motivated to kill

            another,  Officer Joseph  Forgue,  who had  investigated  the

            charge against  Figueroa, explained at the  hearing that such

            evidence would  be irrelevant in Figueroa's  case.  According

            to Forgue, it was "well known" in the prison that there was a

            "contract" on Brodeur's life and that confidential informants

            had reported  that Figueroa had "pick[ed]  up" that contract.

            For that reason,  an inmate would not "have to have a problem

            with  someone to stick  them.  That's  irrelevant whether you

            had a problem with  them or not."  Given  Forgue's statement,

            the board did not abuse its discretion in not calling Brodeur

            as a  witness.   See  Smith  v. Massachusetts  Department  of
                             ___  _____     _____________________________

            Correction,  936   F.2d  1390,  1399-1400  (1st   Cir.  1991)
            __________

            (applying   abuse   of  discretion   standard   in  reviewing

            disciplinary  board's  failure  to  call  inmate  witnesses);

            Turner  v. Caspari,  38 F.3d  388, 391,  392 (8th  Cir. 1994)
            ______     _______

            (noting that prison disciplinary boards have great discretion



                                         -7-















            to decline to call inmate witnesses  whose testimony would be

            irrelevant or unnecessary).6

                      Nor is there merit in Figueroa's claims  respecting

            Botton and Ortiz.  The transcript of the disciplinary hearing

            shows  that  he  never  asked  the  board  to  call  them  as

            witnesses, and so the board obviously did not violate his due

            process  rights in not calling  them.  See  Harrison v. Seay,
                                                   ___  ________    ____

            856 F. Supp. 1275, 1281 (W.D. Tenn. 1994).7  

                      On appeal, Figueroa alleges that Officer Fletcher's

            testimony  "could  have  brought  forth  new  or previous[ly]

            unsolicited  facts."8    The  record indicates  that Figueroa

                                
            ____________________

            6.  Brodeur's testimony would  also have been cumulative  and
            was  unnecessary for that  reason.   Figueroa told  the board
            that  he had had no problems with Brodeur, and Forgue agreed,
            telling the board that Figueroa had no motive to kill Brodeur
            that  he knew  of and  that,  as Figueroa  had  said, he  and
            Brodeur did not appear to have problems with each other.  

            7.  In his pre-trial  memorandum, Figueroa told the  district
            court that Botton  would testify at  trial that Figueroa  had
            been  "set up" by a correction officer and another inmate and
            that Ortiz would testify that an Officer  Martinez and inmate
            Armando Perez had plotted to set  him up.  The district court
            would not  let Botton  and Ortiz testify,  ruling, correctly,
            that the question  before the court was  not whether Figueroa
            was  actually innocent of the charge against him.  On appeal,
            Figueroa appears to have abandoned the claim that  Botton and
            Ortiz would have testified that he had been set up.

            8.  In  his  post-trial   memorandum,  Figueroa  stated  that
            Fletcher was the original investigating officer, that another
            inmate had been under  investigation, and that Fletcher would
            testify  that Figueroa was the "wrong man."  In his pre-trial
            memorandum,  however,  Figueroa  had  shown  no  interest  in
            calling  Fletcher  as  a  witness,  proffering   instead  the
            distinctly  different  theory  described above  that  another
            inmate and a correction  officer had set him up.   On appeal,
            he has obviously abandoned his claim that Fletcher would have

                                         -8-















            had told the board that Fletcher would either offer favorable

            character testimony or would corroborate  Figueroa's trouble-

            free relationship with Brodeur.  The disciplinary  transcript

            indicates that  Figueroa told  the board that  Fletcher would

            testify that Figueroa was "not of that type of character" and

            that  the board  regarded  his testimony  to be  irrelevant.9

            According to  Anderson's trial  testimony, Figueroa  had said

            that Fletcher would testify that Figueroa and Brodeur had not

            had   any   problems   with   each  other.10      Under   the

            circumstances, the court did  not err in concluding  that the

            board had  not  violated due  process  by declining  to  call

            Fletcher  as a  witness.   As  noted  above, testimony  about

            Figueroa's  relationship  with  Brodeur  was  irrelevant  and

            unnecessary.   In  addition, without  further specifics,  the

            simple  testimony that Figueroa was not  the "type" of person

                                
            ____________________

            testified that  a different inmate than  Figueroa had plotted
            to murder Brodeur. 

            9.  The disciplinary hearing  transcript shows that  Figueroa
            asked to call Fletcher as a witness, but  does not record any
            discussion of  the substance  of Fletcher's testimony.   That
            discussion  apparently occurred,  however.    The  transcript
            indicates that Figueroa assented to Anderson's statement that
            "you  request .  .  . Officer  Fletcher to  come  up here  to
            testify  that you're not of  that type of  character" and his
            explanation that  the proposed testimony was  irrelevant.  In
            addition,  in  his  appellate statement  of  facts,  Figueroa
            states  that he  told  the  board  that Fletcher  would  have
            testified  that  he was  not the  "type  of person  who would
            commit the act alleged."  

            10.  Although Figueroa  objected to Anderson's  statement, he
            did  not explain his basis  for disagreeing and  did not tell
            the court that Fletcher would have given different testimony.

                                         -9-















            to  commit murder  would not  have impugned  the confidential

            informants'  clear identification of  Figueroa as  the inmate

            who planned to  kill Brodeur.   See Graham  v. Baughman,  772
                                            ___ ______     ________

            F.2d  441, 445 (8th Cir.  1985) (prison officials  who had to

            determine whether an inmate had started a fire outside of his

            cell  were well  within their  discretion in  concluding that

            character evidence was either irrelevant or unnecessary).

                      4.  Sufficiency of Evidence and Related Claims
                          __________________________________________

                      Figueroa  claimed below  that the  board's decision

            was  not supported  by  substantial evidence.   The  district

            court  concluded  that its  task  in  a  section 1983  action

            alleging a violation of federal  due process was to determine

            whether  "some  evidence"  supported  the  board's  decision,

            citing Superintendent, Massachusetts Correctional Institution
                   ______________________________________________________

            v. Hill, 472  U.S. 445 (1985).   In Hill,  the Supreme  Court
               ____                             ____

            held that federal due process is satisfied if "some evidence"

            in the record supports a disciplinary decision, defining that

            term to mean "any  evidence in the record that  could support

            the conclusion reached  by the disciplinary  board."  Id.  at
                                                                  ___

            455-56.  Using  that standard, the district court  found that

            "some  evidence"  supported  the  board's  decision,  and  we

            agree.11   We  also  agree  with  the  court  that  the  Hill
                                                                     ____

                                
            ____________________

            11.  The  district court  cited  the following  facts:   that
            different informants, who had had no contact with each other,
            had  identified  Figueroa  as  the  inmate  who  was to  stab
            Brodeur;  that each informant's  information corroborated the
            information  proffered  by  the  other  informant;  that  the

                                         -10-















            standard describes the relevant federal  due process standard

            even   though  state  law   imposes  a  stricter  evidentiary

            standard.12   See id.  at 456  ("We decline  to adopt  a more
                          ___ ___

            stringent   evidentiary  standard  [than  the  some  evidence

            standard]  as a  constitutional requirement.");  see  Goff v.
                                                             ___  ____

            Dailey, 991 F.2d 1437, 1441 n.9 (8th Cir.) (state regulations
            ______

            may provide  more protection  than the  federal Constitution,

            but  cannot  raise  the  standard of  due  process  under the

            Constitution), cert. denied, 114  S. Ct. 564 (1993); but  see
                           ____________                          ___  ___

            Brown v. Fauver, 819  F.2d 395, 399 n.4 (3d  Cir. 1987) (Hill
            _____    ______                                          ____

            did   not  establish  whether  the  Constitution  requires  a

            particular burden of proof  in disciplinary proceedings,  but

            spoke only to appellate review standards).  

                      In connection  with his  argument that  the board's

            decision was not supported by  substantial evidence, Figueroa

            asserts  two additional  claims, which  we consider  in turn.

            First, he complains that neither  he nor his counselor,  Jack

            Ward, had access to a confidential investigative report based

            on information  provided by  unidentified informants "as  did

                                
            ____________________

            informants  had  personal knowledge  of  the  matter and  had
            provided  accurate information  in the  past; that  there was
            evidence that  the informants were credible;  that the weapon
            the  informants claimed Figueroa  intended to  use --  a soup
            ladle  honed to  a knife  blade --  had disappeared  from the
            kitchen when  Figueroa worked  in the kitchen;  and, finally,
            that  Figueroa had  offered  no rebuttal  information or  any
            exonerating evidence.  

            12.  Accordingly,  we  do  not  decide   whether  substantial
            evidence in the record supported the board's decision.

                                         -11-















            the disciplinary board."   Figueroa recognizes that  granting

            him access  to the  confidential report "could  have violated

            institutional security  and other investigations."13   But he

            claims that Ward could have reviewed the report and  inquired

            into the informants' mutual corroboration, personal knowledge

            of the matter, and  reliability.  His point seems to  be that

            Ward   might   have  uncovered   evidence   discrediting  the

            informants or their information,  so that Ward's inability to

            see  the  report not  only  violated  Figueroa's due  process

            rights,  but should  also  preclude the  district court  from

            considering  evidence deriving  from the  report.   Under the

            circumstances  present  here, we  disagree.    First, as  the

            chairman of  the disciplinary  board testified at  trial, the

            board  did not  rely on  the confidential  report in  finding

            Figueroa guilty; it did  not even see that report.   Although

                                
            ____________________

            13.  Therefore,  Figueroa is  apparently not  challenging the
            district  court's finding that he was not entitled to see the
                                           __
            confidential report which apparently  identified at least one
            of  the inmates who had reported that Figueroa had planned to
            kill  Brodeur.  It is  well established that  inmates have no
            federal  due process  right  to obtain  evidence which  could
            identify confidential informants.   See,  e.g., Langton,  667
                                                __________  _______
            F.2d at 235 (rejecting an inmate's contention that he had the
            right to cross-examine a confidential informant or review the
            informant's  statement because  Wolff  left  such matters  to
                                            _____
            prison officials'  discretion); Mendoza v.  Miller, 779  F.2d
                                            _______     ______
            1287,  1294 (7th Cir.  1985) (stating that  Wolff and Seventh
                                                        _____
            Circuit cases establish  "unequivocally" that an  inmate does
            not  have a due process right to  be informed of the identity
            of  confidential  informants),  cert. denied,  476  U.S. 1142
                                            ____________
            (1986);  Zimmerlee  v. Keeney,  831 F.2d  183, 186  (9th Cir.
                     _________     ______
            1987)  ("Due process  does  not require  that an  informant's
            identity  be revealed to an inmate."), cert. denied, 487 U.S.
                                                   ____________
            1207 (1988). 

                                         -12-















            the  report  had  been  attached to  Figueroa's  disciplinary

            report at one time,  it had been removed before  the hearing.

            Instead,  the   board  relied  solely   on  Officer  Forgue's

            statements   at  the   hearing  describing  the   nature  and

            reliability of  the informants'  information.  (According  to

            Anderson's trial testimony,  Forgue authored the confidential

            report).   Figueroa was present  at the hearing and obviously

            knew  what Forgue had said.   Accordingly, he  was in exactly

            the  same position as the  board in terms  of his familiarity

            with the evidence  against him.   Figueroa  was permitted  to

            speak freely during the  hearing and had the right  to cross-

            examine Forgue.  See  Morris v. Travisono, 499 F.  Supp. 149,
                             ___  ______    _________

            169 (D.R.I.  1980) (Disciplinary  Procedures,   III.C.4:   An

            inmate  has  "the  right  to  call  a  reasonable  number  of

            witnesses,  both  adverse  and  favorable  and  examine  said

            witnesses.").   At no  time during  the hearing did  Figueroa

            attempt to question Forgue about the confidential informants'

            information,  reliability,  or   personal  knowledge  of  the

            matter.  Second, Figueroa  never asked the disciplinary board

            to  let  Ward review  the  confidential  report,  nor did  he

            present  that issue  to the  district court.14   Accordingly,

            this issue is not  even properly before us.   Finally, prison

            officials have  no general federal due  process obligation to


                                
            ____________________

            14.  In  his pre-trial memorandum, he argued only that he had
            the right to see the report.

                                         -13-















            disclose  confidential reports  to  staff  members  assisting

            inmates  charged with disciplinary  infractions.  See Mendoza
                                                              ___ _______

            v.  Miller, 779 F.2d 1287, 1298 (7th Cir. 1985) (declining to
                ______

            adopt a  general rule that inmate counsel  should have access

            to  confidential investigative  reports used  in disciplinary

            hearings),  cert. denied,  476 U.S.  1142 (1986);  Freitas v.
                        ____________                           _______

            Auger,  837 F.2d 806, 810  n.7 (8th Cir.  1988) (rejecting an
            _____

            inmate's  contention  that   the  court   should  have   made

            confidential reports  available to him or  his attorney after

            the informants  were transferred to a  different prison); see
                                                                      ___

            also  Wagner v. Williford,  804 F.2d 1012,  1017-18 (7th Cir.
            ____  ______    _________

            1986),  and on appeal after remand Wagner v. Henman, 902 F.2d
                    __________________________ ______    ______

            578,  581 (7th Cir. 1990)  (both confirming that  there is no

            "general  rule"  in  the Seventh  Circuit  that  confidential

            reports may  be disclosed to inmates'  counsel and describing

            the circumstances under which  a "limited release of redacted

            material information" to counsel might be possible); White v.
                                                                 _____

            Nix, 43 F.3d 374,  378 (8th Cir. 1994) (concluding  that case
            ___

            law  concerning the  discovery of  confidential investigative

            files  during prison  disciplinary hearings  "uniformly" sets

            certain conditions  on an  inmate's counsel's access  to such

            files).

                      Next,  Figueroa  challenges  the  district  court's

            reliance on  evidence that the  intended murder weapon  was a

            sharpened soup  ladle which  had disappeared from  the prison



                                         -14-















            kitchen  at  the  time  Figueroa  worked  there.15    At  the

            hearing, Officer  Forgue  told the  board  that  confidential

            informants had  reported that the  murder weapon was  a honed

            soup ladle.  He also reported that Figueroa had worked in the

            kitchen  at  the time  the  ladle  disappeared.   On  appeal,

            Figueroa denies that he  ever worked in the kitchen  and that

            he ever had access  to the soup  ladle.  At the  disciplinary

            hearing, however, Figueroa acknowledged that he had worked in

            the kitchen.  He also indicated that he had heard that a soup

            ladle was missing, but denied that he had been working in the

            kitchen at  the  time  the  ladle  disappeared.    Thus,  the

            undisputed evidence  before the  board was that  Figueroa had

            worked  in the kitchen and that a  soup ladle was missing.  A

            controversy   existed  on  the   important  question  whether

            Figueroa  had worked  in the  kitchen at  the time  the ladle

            disappeared.  On that  point, the board obviously discredited

            Figueroa,  choosing  to  believe  the  results  of   Forgue's

            investigation.   On review, neither we nor the district court

            may  revisit the  board's decision  not to  credit Figueroa's

            testimony.   Cf.  Hill, 472  U.S. at  455 (indicating  that a
                         ___  ____

            disciplinary  board's factual  findings  are  not subject  to

            "second-guessing"  upon  review, nor  is the  reviewing court

            required to independently assess the credibility of witnesses


                                
            ____________________

            15.  As  of the date of  the hearing, the  alleged weapon had
            not been found.

                                         -15-















            or  weigh the evidence); Turner v. Scroggy, 831 F.2d 135, 140
                                     ______    _______

            (6th Cir.  1987) ("it is not our task nor the magistrate's to

            substitute   credibility   determinations  contrary   to  the

            [disciplinary]   committee's  ultimate   finding")  (majority

            opinion); Harrison, 856 F. Supp. at 1280 ("Reexamination of a
                      ________

            prison disciplinary board's credibility choices is beyond the

            scope of federal court  review of disciplinary proceedings.")

            (citing Turner v. Scroggy).  
                    ______    _______





































                                         -16-















                      5.  Remaining Claims
                          ________________

                      Figueroa  complains that defendants  failed to give

            him a copy  of the  disciplinary hearing tape  in advance  of

            trial as ordered  by the  district court.   Figueroa did  not

            bring that fact to the court's attention until the day of the

            trial.    When he  did so,  the court  recessed the  trial to

            permit the parties to listen to the tape.  After the  parties

            had listened to the  tape, the court asked Figueroa if he was

            ready  to proceed.   Figueroa said that he  was and the trial

            was   conducted   without   any   subsequent   objection   by

            Figueroa.16   The  trial transcript  shows that  Figueroa was

            familiar with  the contents of the  disciplinary hearing tape

            and knew what  had gone on  at the hearing.   Nothing in  the

            transcript suggests that his inability  to listen to the tape

            in  advance had  prejudiced his  presentation of  evidence at

            trial.  Under those circumstances, his claim is meritless.  

                      In an  "Addendum" to his  appellate brief, Figueroa

            claims that Officer Forgue  sat on the disciplinary board  in

            violation  of the Morris Rules.  See Morris v. Travisono, 499
                                             ___ ______    _________

            F.  Supp.  at 169  (Disciplinary  Procedures,    III.B:  "Any


                                
            ____________________

            16.  In his post-trial memorandum, Figueroa alleged only that
            the transcription of the tape did not accurately reflect  the
            tape  of  the   hearing.     He  did  not   argue  that   any
            mistranscription  had  caused  the court  to  misconstrue any
            critical fact, however, but only that  responses of his which
            were transcribed  as inaudible  "could have been  a response"
            asking for  an  interpreter or  indicating  that he  did  not
            understand the proceedings.  

                                         -17-















            officer who initiates a  violation report or who investigates

            and reviews  the initiating officer's report  is not eligible

            to sit on the disciplinary board  to hear that case.").  This

            claim, which  is apparently based on an  inadvertent error in

            the  district  court's  description  of the  facts,  was  not

            presented below and is clearly refuted by the record.

                      Affirmed.
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